                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )      Case No. 3:15-cr-00074
                                               )      Judge Trauger
ANGELA SUDDARTH                                )

                   DEFENDANT SUDDARTH’S MOTION IN LIMINE NO. 1
                     AND INCORPORATED MEMORANDUM OF LAW
     (Exclusion of Any Government Computer Forensics Expert Purporting to Offer Testimony
      and Evidence Regarding E-mail Tampering or E-mail Fraud for Failure to Comply with
               Fed.R.Crim.P. 16(a)(1)(F) & (G) and MDTN Local Rule 16.01(a)(2).)
          COMES NOW the Defendant, Angela Suddarth, by and through her undersigned

counsel, and hereby moves this Honorable Court to instruct the government and any of the

government’s witnesses in this cause, not to allude to, refer to, or in any way bring before the jury

selected to hear this cause, any of the matters stated below. To allow such evidence or testimony

would be unfairly prejudicial to her rights and a violation of the Constitution and laws of the United

States.

          Furthermore, Defendant Suddarth requests that the Court instruct the government not to

allude or refer to such matters without first approaching the bench and making known to the Court

and the Defendant, outside the presence of the jury, that it intends to offer such evidence, thus

permitting the jury to be retired and the evidence and objections heard, and allowing the Court to

rule on the admissibility of such evidence before prejudicial error occurs.

          Finally, Defendant Suddarth requests that the Court rule on the admissibility of the

evidence before trial.

                                            Background

          The speaking allegations of Counts 14 & 15 of the Indictment (False Statements to the U.S.

Department of Labor, 18 U.S.C. § 1001) allege that Ms. Suddarth created a “fabricated email



       Case 3:15-cr-00074 Document 64 Filed 11/01/17 Page 1 of 4 PageID #: 225
chain” which was presented to the Department of Labor in support of a Complaint filed by Mr. &

Mrs. Suddarth pursuant to the provisions of the Corporate and Criminal Fraud Accountability Act,

Title VIII of the Sarbanes-Oxley Act. (Docket Entry 1, Page ID# 9-11). As of the date of this

filing, the government has not disclosed any computer forensics expert to the defense who would

offer testimony and evidence regarding e-mail tampering or e-mail fraud. 1 Any such disclosure

now would clearly be untimely under Fed.R.Crim.P. 16(a)(1)(F) & (G) and Rule 16.01(a)(2) of

the Local Rules for the Middle District of Tennessee.

                                                 Discussion

        Fed.R.Crim.P. 16(a)(1)(F) provides, in full, as follows:

                 Upon a defendant’s request 2, the government must permit a
                 defendant to inspect and to copy or photograph the results or reports
                 of any physical or mental examination and of any scientific test or
                 experiment if:
                 (i)      the item is within the government’s possession, custody, or
                          control;
                 (ii)     the attorney for the government knows – or through due
                          diligence could know – that the item exists; and
                 (iii)    the item is material to preparing the defense or the
                          government intends to use the item in its case-in-chief at
                          trial.
        Fed.R.Crim.P. 16(a)(1)(G) provides, in part, as follows:

                 At the defendant’s request, the government must give to the
                 defendant a written summary of any testimony that the government
                 intends to use under Rules 702, 703, or 705 of the Federal Rules of
                 Evidence during its case-in-chief at trial.
        Defendant respectfully submits that it would impossible for any lay witness the government


1
  Undersigned counsel has consulted with Ms. Suddarth’s former attorneys, Sheppard, White, Kachergus &
DeMaggio, P.A., who have advised that they too never received any such expert witness notice. The prosecutors now
assigned to Ms. Suddarth’s case replaced the prosecutor who indicted the case.
2
  The standing discovery order in Local Rule 16.01(a)(2) makes these disclosures mandatory without reference to a
prior request.
                                                       2


     Case 3:15-cr-00074 Document 64 Filed 11/01/17 Page 2 of 4 PageID #: 226
might produce to forensically demonstrate that the challenged email chain was indeed “fabricated.”

Such an analysis and conclusion could only be generated and interpreted by someone with

technical training. There would be no way to offer such an opinion to the jury without resorting

to “scientific, technical, or other specialized knowledge within the scope of Rule 702.” On this

point, the following quote is instructional:

               There is no more certain test for determining when experts may be
               used than the common sense inquiry whether the untrained layman
               would be qualified to determine intelligently and to the best possible
               degree the particular issue without enlightenment from those having
               a specialized understanding of the subject involved in the dispute.
Ladd, Expert Testimony, 5 Vand. L. Rev. 414, 418 (1952). Testimony regarding the “fabricated

email chain” is “precisely the type of ‘specialized knowledge’ governed by Rule 702.” See United

States v. Figueroa-Lopez, 125 F.3d 1241, 1246 (9th Cir. 1997) (holding, in the context of a

narcotics case, that the government could not offer agents as lay witnesses and then elicit opinion

testimony from them concerning the practices of drug traffickers in the United States).

       The government should not be permitted to potentially end-run the requirements of Rule

16 and Local Rule 16.01(a)(2) simply by advancing a “fact” or “lay” witness regarding the disputed

“fabricated email chain.” The reasoning of the Figueroa-Lopez court, though generated in a

factually different context, applies with equal force here:

               A holding to the contrary would encourage the Government to offer
               all kinds of specialized opinions without pausing first properly to
               establish the required qualifications of their witnesses. The mere
               percipience of a witness to the facts on which he wishes to tender an
               opinion does not trump Rule 702. Otherwise, a layperson witnessing
               the removal of a bullet from a heart during an autopsy could opine
               as to the cause of the decedent’s death.
135 F.3d at 1246.

       To permit the government to potentially present an expert witness without prior notice and


                                                  3


    Case 3:15-cr-00074 Document 64 Filed 11/01/17 Page 3 of 4 PageID #: 227
the production of a proper summary as contemplated by the Rules of Evidence and Criminal

Procedure would be unfairly prejudicial to Defendant Suddarth significantly impairing her right to

effectively confront and cross-examine the proffered “expert” and properly evaluate whether a

countervailing expert is needed by the defense to meet the challenge of the government’s expert.

                                          CONCLUSION

       WHEREFORE, based on the foregoing, Defendant Suddarth respectfully requests that the

Court preclude the government from offering expert testimony or evidence due to its failure to

comply with Fed.R.Crim. P. 16(a)(1)(F) & (G) and Local Rule 16.01(a)(2)

                                               Respectfully submitted,

                                               TUNE, ENTREKIN & WHITE, P.C.
                                               UBS Tower, Suite 1700
                                               315 Deaderick Street
                                               Nashville, Tennessee 37238
                                               (615) 244-2770

                                               BY: s/ Peter J. Strianse
                                                 PETER J. STRIANSE
                                                 Attorney for Defendant Suddarth


                                  CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing has been sent via the Court’s
electronic filing system, if registered, or, if unregistered in the Court’s system, it has been sent via
facsimile and deposited in the United States Mail, postage prepaid, to:
                               Byron M. Jones
                               John Webb
                               Assistant United States Attorneys
                               110 Ninth Avenue South
                               Suite A-961
                               Nashville, TN 37203-3870

       This 1st day of November, 2017.

                                                       S:/ Peter J. Strianse
                                                       PETER J. STRIANSE


                                                   4


    Case 3:15-cr-00074 Document 64 Filed 11/01/17 Page 4 of 4 PageID #: 228
